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              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                               Scott S. Harris
                                                               Clerk of the Court
                                                               (202) 479-3011
                                June 28, 2021


Clerk
United States Court of Appeals for the Federal
Circuit
717 Madison Place, NW
Room 401
Washington, DC 20439


      Re: Andrei Iancu, Under Secretary of Commerce for Intellectual
          Property and Director, United States Patent and Trademark
          Office
          v. Eugene H. Luoma, et al.
          No. 20-74
          (Your No. 2019-2315; 2019-1871, 2019-1873, 2019-1875, 2019-
          1876, 2019-2224; 2019-1994, 2019-2238; 2019-2057; 2019-2231,
          2019-2290, 2019-2337, 2019-2339, 2020-1030; 2019-2281; 2019-
          1671; 2019-2011; 2019-2243; 2019-1202; 2018-1768; 2019-2430;
          2020-1154; 2020-1155; 2017-2593, 2017-2594; 2019-2210, 2019-
          2223, 2019-2276, 2019-2318; 2019-2368, 2019-2369; 2019-2388;
          2020-1024; 2020-1183; 2020-1253; 2019-1484; 2019-2171; 2020-
          1082, 2020-1083; 2020-1295, 2020-1296, 2020-1297, 2020-1298,
          2020-1299; 2019-1483; 2020-1291)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is granted. The judgment is
vacated, and the case is remanded to the United States Court of Appeals for
the Federal Circuit for further consideration in light of United States v.
Arthrex, Inc., 594 U. S. ___ (2021).

       The judgment or mandate of this Court will not issue for at least
twenty-five days pursuant to Rule 45. Should a petition for rehearing be filed
timely, the judgment or mandate will be further stayed pending this Court's
action on the petition for rehearing.


                                       Sincerely,
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                           Scott S. Harris, Clerk
